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My name is Bob Gilman and I write on behalf of myself, my wife Jenn, and our three children.
We have known Ross McLellan, his wife Lisa and their four children for twelve years. In that
time, we have gotten to know Ross as a dad, neighbor, friend, coach, business man, board
member and, most personally, as part of a community of heroes to our family. Jenn is a
preschool teacher and owner of a food truck on the South Shore. I am an attorney at Prince
Lobel in Boston and we have two boys, ages fifteen and thirteen, and an eleven year old
daughter. Thank you for considering this letter.

I will start with the hero part. Starting in January 2011, Jenn has endured two separate cancer
diagnoses that at times looked bleak. Both battles landed her in hospitals for days, and
sometimes, weeks on end. With three young children, there is no way Jenn and I could have
successfully focused on beating cancer while making our kids feel remotely normal and safe
without amazing efforts from our friends and family. Despite all of this happening at the same
time Ross knew he would be dealing with this case, Ross was constantly there for us. Lots of
people did amazing things—rides for the kids, dinners for the family— and the McLellans were
no exception. They pitched in on all of it. But Ross went even further. Without asking or even
telling me, Ross began taking the trash out of my garage and taking it to the dump every Friday
for months on end. He did not do it for credit but simply because we needed the help. It was
only looking back on it did I realize how selfless Ross was since, at the same time, he and his
family were facing their own set of challenges but he did not hesitate to sacrifice his own time to
help us. Jenn is now two-time cancer survivor against very long odds and we know that success
is owed to those that enabled her to fight. We will never forget what Ross and Lisa did for us.

Ross and I also serve on the Board of Directors for Hingham Youth Hockey, which is a large
hockey program run completely on a volunteer basis. Ross has taken on a number of official and
unofficial roles that demand a lot of his time but he never hesitates to take on as many, if not
more, tasks than anyone else involved with the program. He has served as equipment manager
and representative to the conference our teams play in. He has organized and run tournaments,
raised money and helps coach the teams his kids play on. I know first hand that Ross is someone
parents go to for advice when they might be unhappy with a team or coach. Kids love playing
for him, he is enthusiastic and knowledgeable as a coach. My middle child,          , and Ross’
oldest,       are both goalies and Ross often drives       to practices and goalie clinics. He
always offers to do it and       loves going with Ross, especially since Ross was a goalie himself
and gives insight and tips to him. In these roles, Ross displays patience and empathy, even when
he might disagree with a parent or other board members. He is a vital member of the Hingham
hockey community.

I was also exposed to Ross when he worked at State Street. While I was at Mintz Levin, I began
representing a client that was acquired by State Street in the fall of 2011. Despite the
involvement of too many lawyers, Ross ran the deal for State Street in a fair manner, keeping his
client’s best interests in mind but also moving the transaction in a way that kept both parties’ top
priorities in mind and made for a fair transaction. I remember being impressed with his grasp on
the key points and his ability to find consensus. Like at home, people involved with the deal saw
Ross as someone to provide common sense and his smarts to help whatever situation was
presented.
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Ross is a great friend. We had somewhat similar upbringings before arriving in Hingham and
unfortunately both have gone through difficult years in the time we have known each other.
Ross has always been there to talk in the neighborhood or at the rink. He has provided me and
my family with great support through his positive outlook on life and one of the best senses of
humor we have encountered. Ross is a huge part of the terrific neighborhood we are lucky
enough to live in over the last dozen years.

Perhaps nothing has impressed us more about Ross since we have known him then the way he
has conducted himself while having this case hanging over every aspect of his life for seven
years. Ross has never failed to put others, and most importantly his family, first. Even at the
lowest points in the case, Ross did everything possible to be there for his family. This includes
attending a baseball game for his son the day of the verdict despite knowing that the other
parents would know what happened and that the world had just dealt him a terrible blow. But his
family came before his feelings or personal comfort. Given what we know of him in all kinds of
contexts, it is not surprising but also no less inspiring. We are proud to call Ross and his family
friends. There is no better credit to our neighborhood and community than Ross. We hope that
counts when considering his sentence.

Judge Sorokin, thank you for taking the time to read this letter and the others from Ross’ family
and friends.
